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7                                     UNITED STATES DISTRICT COURT
8                                    EASTERN DISTRICT OF CALIFORNIA
9

10                                                   )   Case No. 2:08-cr-00064-02-MCE
     UNITED STATES OF AMERICA,                       )
11                                                   )
                      Plaintiff,                     )
12                                                   )
              v.                                     )   STIPULATION AND ORDER TO
13                                                   )   CONTINUE THE OCTOBER 18, 2012
     CANDY WU,                                       )   SENTENCING DATE TO
14                                                   )   FEBRUARY 28, 2013
                      Defendant.                     )
15                                                   )   Honorable Morrison C. England
                                                     )
16                                                   )
                                                     )
17                                                   )
                                                     )
18
           IT IS HEREBY STIPULATED by and between Assistant United States Attorney, Michael
19
     Beckwith, counsel for the Plaintiff, and Defendant Candy Wu, by her Counsel, Steven F. Gruel,
20
     that the Sentencing Date currently scheduled for October 18, 2012, at 9:00 a.m., is continued to
21
     February 28, 2013 at 9:00 a.m., or as soon thereafter as is convenient for the Court.
22
               The Court interpreter coordinator, Yolanda Riley Portal, and the United States Probation
23
     Officer assigned to this case has been notified of this continuance and has indicated that
24
     February 28, 2013, is an available date.
25
     ///
26
                                Case 2:08-cr-00064-MCE Document 189 Filed 10/22/12 Page 2 of 2



1

2                               IT IS SO STIPULATED.

3
     Dated: October 17, 2012                          __/s/_________________
4                                                  STEVEN F. GRUEL
                                                   Attorney for Candy Wu
5

6
     Dated: October 17, 2012                          _/s/__________________
7                                                 MICHAEL BECKWITH
8
                                                  Attorney for United States of America

9

10
                                                       ORDER
11

12
                            IT IS SO ORDERED.
13

14   Dated: October 22, 2012

15                                                        __________________________________
                                                          MORRISON C. ENGLAND, JR
16                                                        UNITED STATES DISTRICT JUDGE
17

18   DEAC_Signatu re-END:




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